






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00146-CR






Christopher Stoglin, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 9014214, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R


PER CURIAM

The reporter's record was due to be filed on May 29, 2003.  The court reporter failed
to respond to this Court's notice that the reporter's record is overdue.  See Tex. R. App. P. 35.3(c),
37.3(a)(2).  Appellant is represented by appointed counsel on appeal.  We assume that if there were
any question whether appellant is indigent, the district court would not have appointed counsel.

The district court is instructed to order the preparation of the reporter's record at no
cost to appellant.  The court reporter for the 299th District Court, Mr. Leon Justice, is ordered to file
the reporter's record no later than September 19, 2003.  No further extension of time will be granted.

It is ordered July 25, 2003.


Before Chief Justice Law, Justices B. A. Smith and Puryear

Do Not Publish


